                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEOGUERRA, MICHAEL MAERLENDER, BRANDON
 PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
 TATIANA WEAVER, and CAMERON WILLIAMS,                              Case No. 1:22-cv-00125-MFK
 individually and on behalf of all others similarly situated,
                                                                    Judge Matthew F. Kennelly
                              Plaintiffs,

                              v.

 BROWN UNIVERSITY, CALIFORNIA INSTITUTE OF
 TECHNOLOGY, UNIVERSITY OF CHICAGO, THE
 TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY
 OF NEW YORK, CORNELL UNIVERSITY, TRUSTEES
 OF DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN UNIVERSITY,
 THE JOHNS HOPKINS UNIVERSITY,
 MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
 NORTHWESTERN UNIVERSITY, UNIVERSITY OF
 NOTRE DAME DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM MARSH
 RICE UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,

                               Defendants.


      DECLARATION OF STEVEN WEISBROT, ESQ. OF ANGEION GROUP LLC
                    RE: THE PROPOSED NOTICE PLAN

I, Steven Weisbrot, Esq., declare under penalty of perjury as follows:

1.     I am the President and Chief Executive Officer at the class action notice and claims

administration firm Angeion Group, LLC (“Angeion”). Angeion specializes in designing, developing,

analyzing, and implementing large-scale legal notification plans.

2.     I have personal knowledge of the matters stated herein. In forming my opinions regarding

notice in this action, I have communicated with class counsel and reviewed relevant pleadings and
other documents relating to the case, in addition to drawing from my extensive class action notice

experience, as described below.

3.     I have been responsible in whole or in part for the design and implementation of hundreds of

court-approved notice and administration programs, including some of the largest and most complex

notice plans in recent history. I have taught numerous accredited Continuing Legal Education courses

on the Ethics of Legal Notification in Class Action Settlements, using Digital Media in Due Process

Notice Programs, as well as Claims Administration, generally. I am the author of multiple articles on

Class Action Notice, Claims Administration, and Notice Design in publications such as Bloomberg,

BNA Class Action Litigation Report, Law360, the ABA Class Action and Derivative Section
Newsletter, and I am a frequent speaker on notice issues at conferences throughout the United States

and internationally.

4.     I was certified as a professional in digital media sales by the Interactive Advertising Bureau

(“IAB”) and I am co-author of the Digital Media section of Duke Law’s Guidelines and Best

Practices—Implementing 2018 Amendments to Rule 23 and the soon to be published George

Washington Law School Best Practices Guide to Class Action Litigation.

5.     I have given public comment and written guidance to the Judicial Conference Committee on

Rules of Practice and Procedure on the role of direct mail, email, broadcast media, digital media, and

print publication, in effecting Due Process notice, and I have met with representatives of the Federal

Judicial Center to discuss the 2018 amendments to Rule 23 and offered an educational curriculum for
the judiciary concerning notice procedures.

6.     Prior to joining Angeion’s executive team, I was employed as Director of Class Action

Services at Kurtzman Carson Consultants, an experienced notice and settlement administrator. Prior

to my notice and claims administration experience, I was employed in private law practice.

7.     My notice work comprises a wide range of class actions that include antitrust, data breach,

mass disasters, product defect, false advertising, employment discrimination, tobacco, banking,

firearm, insurance, and bankruptcy cases.




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8.     I have been at the forefront of infusing digital media, as well as big data and advanced

targeting, into class action notice programs. Courts have repeatedly recognized my work in the design

of class action notice programs. A comprehensive summary of judicial recognition Angeion has

received is attached hereto as Exhibit A.

9.     By way of background, Angeion is an experienced class action notice and claims

administration company formed by a team of executives that have had extensive tenures at five other

nationally recognized claims administration companies. Collectively, the management team at

Angeion has overseen more than 2,000 class action settlements and distributed over $15 billion to

Settlement Class Members. The executive profiles as well as the company overview are available at
https://www.angeiongroup.com/our_team.php.

10.    As a class action administrator, Angeion has regularly been approved by both federal and state

courts throughout the United States and abroad to provide notice of class actions and claims processing

services.

11.    This declaration will describe the Notice Plan that, if approved by the Court, Angeion will

implement in this matter, including the considerations that informed the development of the plan and

why it will provide due process to the Settlement Class in an effective and efficient manner.

                                SUMMARY OF THE NOTICE PLAN

12.    Based on the Settlement Agreement, the Settlement Class is defined as follows: All U.S.

citizens or permanent residents who have during the Class Period (a) enrolled in one or more of
Defendants’ full-time undergraduate programs, and (b) received at least some need-based financial

aid from one or more Defendants, and (c) directly purchased from one or more Defendants tuition,

fees, room, or board that was not fully covered by the combination of any types of financial aid or

merit aid (not including loans) from one or more Defendants in any undergraduate year. The Class

Period is defined as follows:

               •   For Chicago, Columbia, Cornell, Duke, Georgetown, MIT, Northwestern, Notre

                   Dame, Penn, Rice, Vanderbilt, Yale—from 2003 through the date the Court enters
                   an order preliminarily approving the Settlement.


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                •   For Brown, Dartmouth, Emory—from 2004 through the date the Court enters an

                    order preliminarily approving the Settlement.

                •   For Caltech—from 2019 through the date the Court enters an order preliminarily

                    approving the Settlement.

                •   For Johns Hopkins—from 2021 through the date the Court enters an order

                    preliminarily approving the settlement.

                •   Excluded from the Class are:

                        i. Any Officers and/or Trustees of Defendants, or any current or former

                            employees holding any of the following positions: Assistant or Associate
                            Vice Presidents or Vice Provosts, Executive Directors, or Directors of

                            Defendants’ Financial Aid and Admissions offices, or any Deans or Vice

                            Deans, or any employees in Defendants’ in-house legal offices; and

                        ii. The Judge presiding over this action, his or her law clerks, spouse, and any

                            person within the third-degree of relationship living in the Judge’s

                            household and the spouse of such a person.

It is my understanding that this group includes students and former students at the seventeen elite

university defendants in this case from 2003 through the date the Court enters an order preliminarily

approving the Settlement. Based on my research, I am aware that this case has received substantial

media coverage and is being followed by reporters from multiple national publications including the

New York Times1 and the Wall Street Journal.2 I expect that the filing of this Settlement will be covered

extensively in the press. The proposed Notice Plan intends to capitalize on this free public exposure

of the case and the Settlement by implementing a comprehensive media campaign, as described below.


1
  Stephanie Saul and Anemona Hartocolis, Lawsuit Says 16 Elite Colleges Are Part of Price-Fixing Cartel,
https://www.nytimes.com/2022/01/10/us/financial-aid-lawsuit-colleges.html (last visited July 10, 2023).
2
  Melissa Korn, Yale, Georgetown, Other Top Schools Illegally Collude to Limit Student Financial Aid, Lawsuit
Alleges, https://www.wsj.com/articles/yale-georgetown-other-top-schools-illegally-collude-to-limit-student-
financial-aid-lawsuit-alleges-11641829659 (last visited July 10, 2023).



                                                4
I do understand that Plaintiffs’ Counsel has collected the names and addresses of multiple members

of the Settlement Class who have asked for information about the case, and that some or all of the

Defendants will provide Settlement Class Member email addresses, and possibly postal address

information from their alumni databases during the relevant periods. Thus, it appears that Angeion

will have available a relatively comprehensive set of email addresses for a large share of the members

of the Settlement Class. For that large share of Settlement Class members for whom email address

information is available, notice will be sent via email. The email will contain a “summary notice” in

the form attached hereto as Exhibit B. To the extent that Angeion received “bounce backs” from email

addresses, and postal addresses are available from those persons, Angeion will send the Long Form
notice via first class mail to those persons. The Long Form Notice is attached hereto as Exhibit C.

Settlement Class Members will also be able to download a copy of the notice from the Settlement

Website, or by requesting it via email, mail, or the toll-free hotline.

13.    The proposed Notice Plan provides for a relatively comprehensive direct email notice process,

coupled with a robust multi-tiered media campaign strategically designed to provide notice to

Settlement Class Members via a variety of additional methods, including state-of-the-art targeted

internet notice, social media notice, a paid search campaign, and two press releases. The Notice Plan

also provides for the implementation of a dedicated Settlement Website and a toll-free telephone line

where Settlement Class Members can learn more about their rights and options pursuant to the terms

of the Settlement.
14.    As discussed in greater detail below, separate and apart from the direct email or mailed notice

procedure, the media campaign alone is designed to deliver an approximate 75.31% reach with an

average frequency of 3.22 times to an audience that we have modelled to include the vast majority of

members of the Settlement Class (the “Target Audience”). What this means in practice is that 75.31%

of our Target Audience (defined more specifically in paragraph 18 below) will see a digital

advertisement concerning the lawsuit an average of 3.22 times each. This number is calculated using

objective syndicated advertising data relied upon by most advertising agencies and brand advertisers.
It is further verified by sophisticated media software and calculation engines that cross reference


                                              5
which media is being purchased with the media habits of our specific Target Audience. It is important

to note that the Target Audience is distinct from the class definition, and is used as a proxy audience,

as is commonplace in class action notice plans.

15.     The Federal Judicial Center states that a publication notice plan that reaches 70% of class

members is one that reaches a “high percentage” and is within the “norm.” Barbara J. Rothstein &

Thomas E. Willging, Federal Judicial Center, “Managing Class Action Litigation: A Pocket Guide or

Judges,” at 27 (3d Ed. 2010).

                                          MEDIA CAMPAIGN

16.     Angeion’s comprehensive media campaign will utilize a carefully tailored mix of
programmatic display advertising, social media notice, search engine marketing and two press releases

to effectively and efficiently diffuse notice of the Settlement through a variety of mediums. Angeion

will be sure to build upon the free media attention to the case and the significant amount of anticipated

national publicity that will accompany the filing of the settlement papers.

Programmatic Display Advertising

17.     Angeion will also utilize a form of internet advertising known as Programmatic Display

Advertising, which is the leading method of buying digital advertisements in the United States,3 to

provide notice of the Settlement to Settlement Class Members. The media notice outlined below is

strategically designed to provide notice by driving Settlement Class Members to the dedicated

Settlement Website, where they can learn more about the Settlement, including their rights and
options.

18.     To develop the media notice campaign and to verify its effectiveness, our media team analyzed




3
  Programmatic Display Advertising is a trusted method specifically utilized to reach defined target audiences.
It has been reported that U.S. advertisers spent nearly $105.99 billion on programmatic display advertising in
2021, and it is estimated that approximately $123.22 billion will be spent on programmatic display advertising
in 2022. See https://www.emarketer.com/content/us-programmatic-digital-display-ad-spending-2022. In
laypeople’s terms, programmatic display advertising is a method of advertising where an algorithm identifies
and examines demographic profiles and uses advanced technology to place advertisements on the websites
where members of the audience are most likely to visit (these websites are accessible on computers, mobile
phones and tablets).


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data from 2022 comScore Multi-Platform/MRI Simmons USA Fusion4 to profile the Settlement Class

and arrive at an appropriate target group (“Target Audience”) based on criteria pertinent to this

Settlement. Specifically, the following syndicated research definition was used to profile potential

Settlement Class Members:

      •   Respondent: Attended College: YES
      •   Loans and Mortgages: Personal Loan for Education (Student Loan) Have Personally or
          Jointly Utilized
      •   Ages 18-44
19.       The Target Audience was identified and selected based on the composition of the Settlement

Class based on the Settlement Class definition and Settlement Class Period(s). For example, the age

group qualifier (ages 18-44) includes potential Settlement Class Members from the earliest year

amongst the Settlement Class Periods (2003), while still capturing those included at the end of the

Class Period (i.e., close to the present). Likewise, the Target Audience specifically consists of those

individuals who attended college. Here, the Settlement Class includes those who enrolled in one or

more of the seventeen University Defendants full-time undergraduate programs over many years. The

objective syndicated data does not allow us to measure against specific universities’ student or alumni

thereof; however, multiple targeting layers utilizing the Target Audience’s online interests and

behaviors will be used to further refine the delivery of media advertisements to those most likely to

be Settlement Class Members (e.g., being a member of an alumni group of one of the seventeen

Defendants on social media). Lastly, inclusion in the Settlement Class requires that the Settlement
Class Members have received at least some need-based financial aid from one or more Defendants.

20.       Based on the Target Audience definition used, the size of the Target Audience is approximately

12,061,000 individuals in the United States. Utilizing an overinclusive proxy audience maximizes the


4
 GfK MediaMark Research and Intelligence LLC (“GfK MRI”) provides demographic, brand preference and
media-use habits, and captures in-depth information on consumer media choices, attitudes, and consumption
of products and services in nearly 600 categories. comSCORE, Inc. (“comSCORE”) is a leading cross-platform
measurement and analytics company that precisely measures audiences, brands, and consumer behavior,
capturing 1.9 trillion global interactions monthly. comSCORE’s proprietary digital audience measurement
methodology allows marketers to calculate audience reach in a manner not affected by variables such as cookie
deletion and cookie blocking/rejection, allowing these audiences to be reach more effectively. comSCORE
operates in more than 75 countries, including the United States, serving over 3,200 clients worldwide.


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efficacy of the Notice Plan and is considered a best practice among media planners and class action

notice experts alike. Using proxy audiences is also commonplace in both class action litigation and

advertising generally.5

21.     Additionally, the Target Audience is based on objective syndicated data, which is routinely

used by advertising agencies and experts to understand the demographics, shopping habits and

attitudes of the consumers that they are seeking to reach.6 Using this form of objective data will allow

the Parties to report the reach and frequency to the Court with confidence that the reach percentage

and the number of exposure opportunities comply with due process and exceed the Federal Judicial

Center’s threshold as to reasonableness in notification programs. Virtually all professional advertising
agencies and commercial media departments use objective syndicated data tools, like the ones

described above, to quantify net reach. Sources like these guarantee that advertising placements can

be measured against an objective basis and confirm that the reporting statistics are not overstated.

Objective syndicated data tools are ubiquitous tools in a media planner’s arsenal and are regularly

accepted by courts in evaluating the efficacy of a media plan or its component parts. Understanding

the socioeconomic characteristics, interests and practices of a target group aids in the proper selection

of media to reach that target. Here, the objective syndicated data from 2022 comScore Multi-

Platform/MRI Simmons USA Fusion reports that the Target Audience has the following

characteristics:

        •   100% are ages 18-44, with a median age of 32.4 years old;
        •   61.11% are female;

5
  If the total population base (or number of class members) is unknown, it is accepted advertising and
communication practice to use a proxy-media definition, which is based on accepted media research tools and
methods that will allow the notice expert to establish that number. The percentage of the population reached
by supporting media can then be established. See Duke Law School, GUIDELINES AND BEST PRACTICES
IMPLEMENTING 2018 AMENDMENTS TO RULE 23 CLASS ACTION SETTLEMENT PROVISIONS,
at 56.
6
 The notice plan will include an analysis of the makeup of the Settlement Class. The target audience should
be defined and quantified. This can be established through using a known group of persons, or it can be based
on a proxy-media definition. Both methods have been accepted by the courts and, more generally, by the
advertising industry, to determine a population base. See Duke Law School, GUIDELINES AND BEST
PRACTICES IMPLEMENTING 2018 AMENDMENTS TO RULE 23 CLASS ACTION SETTLEMENT
PROVISIONS, at 56.


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          •   48.67 % are married;

          •   46.20% have children;

          •   61.33% have received a bachelor’s or post-graduate degree;

          •   69.54% are currently employed full time;

          •   The average household income is $109,820; and

          •   94.79% have used social media in the last 30 days.

22.       To identify the best vehicles to deliver messaging to the Target Audience, the media quintiles,

which measure the degree to which an audience uses media relative to the general population, were

reviewed. Here, the objective syndicated data shows that members of the Target Audience are heavy
internet users, spending an average of approximately 34.9 hours per week on the internet.

23.       Given the strength of digital advertising, as well as our Target Audience’s consistent internet

use, we recommend utilizing a robust internet advertising campaign to reach Settlement Class

Members. This media schedule will allow us to deliver an effective reach level and frequency, which

will provide due and proper notice to the Settlement Class.

24.       Multiple targeting layers will be implemented into the programmatic campaign to help ensure

delivery to the most appropriate users, inclusive of the following tactics:

      •   Look-a-like Modeling: This technique utilizes data methods to build a look-a-like audience

          against known Settlement Class Members.

      •   Predictive Targeting: This technique allows technology to “predict” which users will be served
          by the advertisements about the Settlement.

      •   Audience Targeting: This technique utilizes technology and data to serve the impressions to

          the intended audience based on demographics, purchase behaviors and interests.

      •   Site Retargeting: This technique is a targeting method used to reach potential Settlement Class

          Members who have already visited the dedicated website while they browsed other pages. This

          allows Angeion to provide a potential Settlement Class Member sufficient exposure to an

          advertisement about the Settlement.
      •   Geotargeting: The campaign will run nationally.


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25.     To combat the possibility of non-human viewership of digital advertisements and to verify

effective unique placements, Angeion employs Oracle’s BlueKai, Adobe’s Audience Manger and/or

Lotame, which are demand management platforms (“DMP”). DMPs allow Angeion to learn more

about the online audiences that are being reached. Further, online ad verification and security

providers such as Comscore Content Activation, DoubleVerify, Grapeshot, Peer39 and Moat will be

deployed to provide a higher quality of service to ad performance.

Social Media

26.     The Notice Plan also includes a social media campaign utilizing Facebook and Instagram, two

of the leading social media platforms7 in the United States. The social media campaign uses an
interest-based approach which focuses on the interests that users exhibit while on these social media

platforms.

27.     The social media campaign will engage with the Target Audience desktop sites, mobile sites,

and mobile apps. Additionally, specific tactics will be implemented to further qualify and deliver

impressions to the Target Audience. Look-a-like modeling allows the use of consumer characteristics

to serve ads. Based on these characteristics, we can build different consumer profile segments to

ensure the Notice Plan messaging is delivered to the proper audience. Conquesting allows ads to be

served in relevant placements to further alert potential Settlement Class Members of the Settlement.

The social media ads will run nationally.

28.     The social media campaign will coincide with the programmatic display advertising portion
of the Notice Plan. Combined, these media notice efforts are designed to deliver approximately

twenty-nine million impressions. To track campaign success, we will implement conversion pixels

throughout the dedicated website to understand audience behavior better and identify those most likely

to convert. The programmatic algorithm will change based on success and failure to generate

conversions throughout the process to provide the most effective messaging.



7
  In 2023, Facebook has a reported 243.58 million users, and Instagram has a reported 150.99 million users.
See https://www.statista.com/statistics/408971/number-of-us-facebook-users/ and
https://www.statista.com/statistics/293771/number-of-us-instagram-users.

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Paid Search Campaign

29.    The Notice Plan also includes a paid search campaign on Google to help drive Settlement Class

Members who are actively searching for information about the litigation to the dedicated website. Paid

search ads will complement the programmatic and social media campaigns, as search engines are

frequently used to locate a specific website, rather than a person typing in the URL. Search terms

would relate to not only the Settlement itself but also the subject matter of the lawsuit. In other words,

the paid search ads are driven by the individual user’s search activity, such that if that individual

searches for (or has recently searched for) the Settlement, or other terms related to the litigation, that

individual could be served with an advertisement directing them to the dedicated website.
Press Release

30.    Angeion will also cause two press releases to be distributed over PR Newswire (or a similar

press release distribution service) to further diffuse news of the Settlement. The press releases will

help garner “earned media” (i.e., other media outlets and/or publications will report the story) to

supplement the comprehensive notice efforts outlined herein, which will lead to increased awareness

and participation amongst members of the Settlement Class.

                                          DIRECT NOTICE

31.    Angeion is informed that all seventeen Defendants are likely to provide Angeion with email

address and potentially postal address information for a large share of the members of the Settlement

Class. As such, the Notice Plan provides for sending email notice containing the text from the
proposed Summary Notice (Exhibit B) formatted into the body of the email. The Notice Plan further

provides for sending the Long Form Notice (Exhibit C) via first class U.S. mail, postage pre-paid to

potential Settlement Class Members and those Settlement Class Members who ask Angeion or Class

Counsel for a mailed Long Form Notice The forms of notice will also both be available on the

Settlement Website.

32.    Angeion designs the email notice to avoid many common “red flags” that might otherwise

cause a Settlement Class Member’s spam filter to block or identify the email notice as spam. For




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example, Angeion does not include attachments like the Long Form Notice to the email notice,

because attachments are often interpreted by various Internet Service Providers (ISP”) as spam.

Angeion also accounts for the real-world reality that some emails will inevitably fail to be delivered

during the initial delivery attempt. Therefore, after the initial noticing campaign is complete, Angeion,

after an approximate 24- to 72-hour rest period (which allows any temporary block at the ISP level

to expire) causes a second round of email noticing to continue to any email addresses that were

previously identified as soft bounces and not delivered. In our experience this minimizes emails that

may have erroneously failed to deliver due to sensitive servers and optimizes delivery.

33.     Angeion will employ best practices to increase the deliverability rate of the mailed Notices.
Angeion will cause the mailing address information for members of the Settlement Class to be

updated utilizing the United States Postal Service’s (“USPS”) National Change of Address database,

which provides updated address information for individuals or entities who have moved during the

previous four years and filed a change of address with the USPS.

34.     Notices returned to Angeion by the USPS with a forwarding address will be re-mailed to the

new address provided by the USPS and the Settlement Class Member records will be updated

accordingly with the new address information.

35.     Notices returned to Angeion by the USPS without forwarding addresses will be subjected to

an address verification search (commonly referred to as “skip tracing”) utilizing a wide variety of

data sources, including public records, real estate records, electronic directory assistance listings, etc.,
to locate updated addresses.

36.     Notices will be re-mailed to Settlement Class Members for whom updated addresses were

obtained via the skip tracing process.

37.     In addition, the Long Form Notice will be emailed to anyone who requests one via the toll-

free number or by email or mail. The Long Form Notice will also be available for downloading or

printing at the Case Website.

             SETTLEMENT WEBSITE & TOLL-FREE TELEPHONE SUPPORT
38.     The Notice Plan will also implement the creation of a case-specific Settlement Website where


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Settlement Class Members can easily view general information about this Settlement, review relevant

Court documents, and view important dates and deadlines pertinent to the Settlement. The Settlement

Website will be designed to be user-friendly and make it easy for Settlement Class Members to find

information about this Settlement. The Settlement Website will also have a “Contact Us” page

whereby Settlement Class Members can send an email with any additional questions to a dedicated

email address. Likewise, Settlement Class Members will also be able to submit a claim form online

via the Settlement Website and securely upload documentation at the appropriate time in the process

after final approval. Angeion understands that Class Counsel intend to submit a detailed proposed

procedure for the Allocation Plan, including proposed Claim Forms and a schedule for the Claims
Process, in their brief in support of final approval.

39.    A toll-free hotline devoted to this case will be implemented to further apprise Settlement Class

Members of their rights and options pursuant to the terms of the Settlement. The toll-free hotline will

utilize an interactive voice response (“IVR”) system to provide Settlement Class Members with

responses to frequently asked questions and provide essential information regarding the Settlement.

This hotline will be accessible 24 hours a day, 7 days a week. Additionally, Settlement Class Members

will be able to leave a request to have the Notice and/or Claim Form mailed to them at the appropriate

time in the process after final approval.

                                DATA SECURITY & INSURANCE

40.    Angeion recognizes the critical need to secure our physical and network environments and
protect data in our custody. It is our commitment to these matters that has made us the go-to

administrator for many of the most prominent data security matters of this decade. We are constantly

improving upon our robust policies, procedures, and infrastructure by periodically updating data

security policies as well as our approach to managing data security in response to changes to physical

environment, new threats and risks, business circumstances, legal and policy implications, and

evolving technical environments.

41.    Angeion’s privacy practices are compliant with the California Consumer Privacy Act, as
currently drafted. Consumer data obtained for the delivery of each project is used only for the purposes


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intended and agreed in advance by all contracted parties, including compliance with orders issued by

State or Federal courts as appropriate. Angeion Group imposes additional data security measures for

the protection of Personally Identifiable Information (PII) and Personal Health Information (PHI),

including redaction, restricted network and physical access on a need-to-know basis, and network

access tracking. Angeion requires background checks of all employees, requires background checks

and ongoing compliance audits of its contractors, and enforces standard protocols for the rapid

removal of physical and network access in the event of an employee or contractor termination.

42.    Data is transmitted using Transport Layer Security (TLS) 1.3 protocols. Network data is

encrypted at rest with the government and financial institution standard of AES 256-bit encryption.
We maintain an offline, air-gapped backup copy of all data, ensuring that projects can be administered

without interruption.

43.    Further, our team stays on top of latest compliance requirements, such as GDPR, HIPAA, PCI

DSS, and others, to ensure that our organization is meeting all necessary regulatory obligations as well

as aligning to industry best practices and standards set forth by frameworks like CIS and NIST.

Angeion is cognizant of the ever-evolving digital landscape and continually improves its security

infrastructure and processes, including partnering with best-in-class security service providers.

Angeion’s robust policies and processes cover all aspects of information security to form part of an

industry leading security and compliance program, which is regularly assessed by independent third

parties. Angeion is also committed to a culture of security mindfulness. All employees routinely
undergo cybersecurity training to ensure that safeguarding information and cybersecurity vigilance is

a core practice in all aspects of the work our teams complete.

44.    Angeion currently maintains a comprehensive insurance program, including sufficient Errors

& Omissions coverage.
                                   REACH AND FREQUENCY

45.    This declaration describes the reach and frequency evidence which courts systemically rely

upon in reviewing class action publication notice programs for adequacy. The reach percentage

exceeds the guidelines as set forth in the Federal Judicial Center’s Judges’ Class Action Notice and


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Claims Process Checklist and Plain Language Guide to effectuate a notice program which reaches a

high degree of the members of the Settlement Class.

46.    Specifically, the comprehensive media campaign is designed to deliver an approximate

75.31% reach with an average frequency of 3.22 times each. It should be noted that the 75.31% reach

approximation is separate and apart from the direct notice efforts, Settlement Website, and toll-free

telephone support.

                                           CONCLUSION

47.    The Notice Plan outlined herein provides for direct notice via mail to all reasonably identifiable

Settlement Class Members, combined with a robust, multi-faceted media campaign. The Notice Plan

also includes the implementation of a dedicated Settlement Website and toll-free hotline to further

inform Settlement Class Members of their rights and options in the Settlement.

48.    In my professional opinion, the Notice Plan described herein will provide full and proper notice

to Settlement Class Members before the claims, opt-out, and objection deadlines. Moreover, it is my

opinion that the Notice Plan is the best notice that is practicable under the circumstances and fully

comports with due process, and Fed. R. Civ. P. 23. After the Notice Plan has been executed, Angeion

will provide a final report verifying its effective implementation to this Court.

       I hereby declare under penalty of perjury that the foregoing is true and correct.


Dated: August 11, 2023
                                                                      ____________________
                                                                      STEVEN WEISBROT




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